Case 3:17-cv-00939-WHA Document 201-6 Filed 04/10/17 Page 1 of 12




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                                            Case 3:17-cv-00939-WHA Document 201-6 Filed 04/10/17 Page 12 of 12



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                                                                Case 4:15-cv-00599-DGK Document 58 Filed 04/18/16 Page 11 of 11
